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IN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

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UN|TED STATES OF AMER|CA, * mg r;; ,T;.;| \i\:§r_MS
P|aintiff, *
vs. * Crimina| No. 02-20064-D

l(-

JASON |V||CHAEL BUCKNER,

Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

|n information Number 02-20064-D, the United States sought forfeiture of specific
property of defendant Jason i\/|ichae| Buckner, pursuant to 18 U.S.C. §§ 2251 and 2252.
On Nlarch 15, 2002, the defendant, Jason lV|lchae| Buckner, entered a plea of guilty to
Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11 and 12 of the |nformatlon.

Accordingly, it is ORDERED:

1. Based upon the defendants guilty plea to Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
11 and 12 of the information Number 02-20064-D, the United States is authorized to seize
the following property belonging to defendant Jason Michae| Buckner, and his interest in
it is hereby forfeited to the United States for disposition in accordance with the law, subject
to the provisions of 21 U.S.C. §853(n) and Rule 32(d)(2) of the Federal Rules of Crimina|
Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United
States Code, and any book, magazine, periodica|, tirm, videotape, and other matter which

contains any such visual depiction, which was produced, transported, mailed, shipped, or

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received in violation of the above said statute;

b. Any property, real or persona|, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any propertyl real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) one (1) cale-way 06~4000 cPu,
sN 0012503652;

2) One (1) Sl|ViA Screenwriter, SN 980802460;

3) One (1) Sony Handy Cam Digita| Camera,
SN 39898, with two (2) tapes and receipt;

4) One (1) Sharp VHS Video Camera, SN
205321904;

5) One (1) Dazz|e Digital Video Creator,
SN DVCUSB8065589;

6) E|even (11) 1.44lV|B F|oppy Computer
Diskettes;

7) Two (2) BMM Video Tapes; and
8) One (1) VHS Video Tape.

AI| pursuant to Tit|e 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States |V|arshal in his
secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Marsha| shall publish at
least once a week for three successive weeks in a newspaper of general circulation in

She|by County, Tennessee, notice of this order, notice of the United States' intent to

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dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjuryl and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner's claim
and the relief sought. The United States l\/larshal or his delegate may use the attached
l_egal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. |f no third party files a timely claim, this Order shall become the Fina| Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and

28 U.S.C. §2461(6), for the filing of third party petitions.

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7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

IT lS SO ORDERED this 52 § day of l ¢},¢ 545& ,2005.

 

U `ted State's District Judge

PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

By; ('/WFF///

lsToPHE`R/ETBOTTEN
ssistant United States Attorney

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lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN DlV|SION

uNlTED sTATEs oF AiviERicA, *
Plaintiff, *
vs. 4 * criminal No. 02-20064-[)
JAsoN rvichAEL BuckNER, *
Defendant. *

 

LEGAL NOTICE

Take notice that on Q§" aug )!g M_[ , the United States District Court forthe

Western District of Tennessee, Western Division, entered a Pre|iminary Order of Forfeiture

 

ordering that all right, title and interest of the defendant Jason Michae| Buckner in the
following property be forfeited to the United States to be disposed of in accordance with
|aw:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or persona|, used or intended to be used to commit or to
promote the commission of the above said offenses, including but not limited to the

following:

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1)

5)

6)

7)

3)

one (1) Gateway oe¢iccc cPu,
sN 0012503652;

One (1) SllVlA Screenwriter, SN 980802460;

One (1) Sony Handy Cam Digital Camera,
SN 39898, with two (2) tapes and receipt;

One (1) Sharp VHS Video Camera, SN
205321904;

One (1) Dazz|e Digital Video Creator,
SN DVCUSBSOGS§BQ;

Eleven (11) 1.44lVlB F|oppy Computer
Diskettes;

Two (2) BMM Video Tapes; and

One (1) VHS Video Tape.

A|l pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

General or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, tit|e, or

interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:02-CR-20064 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

Christopher E. Cotten

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Ste. 800

Memphis7 TN 38103

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Bernioe Donald
US DISTRICT COURT

